                        Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 1 of 28
/   ...
                                                                                                   FILED
                                                                                                 u.s. DISTRICT COURT
                                                                                             EASTERN DISTRICT ARKANSAS


                                                                                                  FEB 18 2010 ,
                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF ARKANSAS
                                                 JONESBORO DIVISION

          WRIGHT MEDICAL GROUP, INC. D/B/A
          WRIGHT MEDICAL TECHNOLOGY, INC.
          AND SURGICAL TECHNOLOGIES, LLC                                                            PLAINTIFFS

          VS.                                                                         CASE No.8:          (DC!.- VQ33JLrf
          KEVIN DARR, CHARLES HALL, AND
          MARK STARRING & ASSOCIATES, INC.                                                        DEFENDANTS
                                                                                                     J~e mJ,..."Nt!!Ei
                                                                         This case assigned to District
                                                          COMPLAINT and to Magistr2!te ,1udgEL" -. - JJ. e.~~ --

                   Plaintiffs, Wright Medical Group, Inc. d/b/a Wright Medical Technology, Inc. and

          Surgical Technologies, LLC, respectfully come before this Court, by and through their respective

          attorneys, Baker, Donelson, Bearman, Caldwell & Berkowitz, PC for Wright Medical Group,

          Inc. d/b/a Wright Medical Technology, Inc., and Bowen Law Firm, PLLC for Surgical

          Technologies, LLC, and for their Complaint against Defendants, Kevin Darr, Charles Hall, and

          Mark Starring & Associates, Inc., allege as follows:


                                       STATEMENT OF JURISDICTION AND VENUE

                   1.          Plaintiff Wright Medical Group, Inc. operates through its wholly owned

          subsidiary Wright Medical Technology, Inc. ("Wright"), which is a Delaware corporation, and

          has its principal place of business in Arlington, Tennessee.

                   2.          Plaintiff Surgical Technologies, LLC ("Surgical Technologies") is a limited

          liability company formed under the laws of the State of Tennessee. Paul Massa is the sole

          member of Surgical Technologies, and he is a resident and citizen of the State of Tennessee.

                   3.          Defendant Kevin Darr is a resident and citizen of the State of Arkansas.

                   4.          Defendant Charles Hall is a resident and citizen of the State of Arkansas.


          M JCHOI 2040243 v5
          2789037-000027
              Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 2 of 28



         5.          Defendant Mark Starring & Associates, Inc. ("Mark Starring") is a Louisiana

corporation, and has its principal place of business in Metairie, Louisiana.

         6.          This is an action for declaratory judgment, injunctive relief, and money damages

arising out of breaches of non-compete agreements made by Kevin Darr and Charles Hall in the

State of Arkansas, violations of the Arkansas Trade Secrets Act committed by Defendants in the

State of Arkansas, interference with contractual relations committed by Defendants in the State

of Arkansas, and breaches of the duty of loyalty committed by Mr. Darr and Mr. Hall in the State

of Arkansas.

         7.          There is complete diversity of citizenship between Plaintiffs and Defendants, and

the amount in controversy for each Plaintiff exceeds $75,000.00, exclusive of interest and costs.

         8.          This Court has diversity-of-citizenship jurisdiction pursuant to 28 U.S.C. § 1332,

and venue pursuant to 28 U.S.C. § 1391.


                                        STATEMENT OF CLAIMS

                                   FACTS COMMON TO ALL CLAIMS

         9.          Wright is a global orthopedic medical device company specializing in the design,

manufacture, and marketing of reconstructive joint devices and biologics.

         10.         Wright operates most of its business through independent distributors who

establish non-compete covenants with their independent and employed sales representatives.

         11.         Wright also establishes covenants not to compete with distributors and sales

representatives by granting stocks that contain restrictions against competition.

         12.         Surgical Technologies is an independent distributor of medical devices, and has

sold Wright's products in Arkansas for over twenty years. Through cooperation and hard work,




                                                     2
M JCHOI 2040243 v5
2789037·000027
               Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 3 of 28



Wright and Surgical Technologies have developed strong business relationships and excellent

goodwill with clients throughout Arkansas.

         13.         In February of 2001, Surgical Technologies hired Kevin Darr to sell Wright's

products in northeast Arkansas.

         14.         As a benefit of his employment with Surgical Technologies, Mr. Darr was able to

participate in Wright's stock option program. Mr. Darr accepted with stock options in 2002,

2003,2004, 2005, and 2006. He also accepted restricted stock in 2007 and 2008.

         15.         Conditioned upon issuance of those options and restricted stock, Mr. Darr entered

into an agreement with Wright that prohibited him from competing in any manner against Wright

in any of the geographical territories where he was a sales representative for Wright. In pertinent

part, the stock option agreements for 2002 through 2006 and the restrictive stock agreements for

2007 and 2008 provide the following:

                     STOCK OPTION AGREEMENTS
                     By accepting the Options, the Participant represents and agrees for
                     himself and his transferees (whether by will or the laws of descent
                     and distribution) that:
                     For the period commencing on the date of this Agreement and
                     ending on the first one year anniversary of the termination of
                     Participant's service (such period is hereinafter referred to as the
                     "Restricted Period"), with respect to any geographic territories in
                     which the Company is engaged in business during the period for
                     which the Participant is engaged to provide Service and, for the
                     one year following such period of Service, with respect to the
                     territory of the Participant's Service (such periods are hereinafter
                     referred to as the "Restricted Period"), the Participant shall not
                     participate or engage, directly or indirectly, for himself or herself
                     or on behalf of or in conjunction with any person, partnership,
                     corporation or other entity, whether as an employee, agent, officer,
                     director, shareholder, partner, joint venturer, investor or otherwise
                     (other than a limited partner or stockholder of less than one percent
                     of the issued and outstanding limited partnership interests or stock
                     of a publicly held partnership or corporation whose gross assets
                     exceed $1,000,000) in the distribution, solicitation, promotion,
                     manufacture, design, development, or sale of any medical products
                                                      3
M JCHOI 2040243 v5
2789037-000027
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 4 of 28



                     or services competitive with products manufactured, marketed, or
                     sold by the Company or any of its subsidiaries or any medical
                     products or services intended to be manufactured, marketed, or
                     sold by the Company of the same general type or function. The
                     parties intend the restrictions in this Paragraph 7 to be completely
                     severable and independent, and any invalidity or unenforceability
                     of anyone or more of such restrictions shall not render invalid or
                     unenforceable anyone or more restrictions.
                     (A copy of the stock option agreements is attached hereto as Exhibit A).
                     RESTRICTED STOCK AGREEMENT
                     By accepting the Shares, Grantee represents and agrees for Grantee
                     and Grantee's transferees (whether by will or the laws of descent
                     and distribution) that:
                     For the period commencing on the Grant Date and ending on the
                     first anniversary of the termination of Grantee's service (such
                     period is hereinafter referred to as the " Covenant Period"), with
                     respect to any geographic territories which the Company is
                     engaged in business during the period for which Grantee provided
                     service to the Company, Grantee shall not participate or engage,
                     directly or indirectly, for Grantee or on behalf of or in conjunction
                     with any person, partnership, corporation or other entity, whether
                     as a employee, agent, officer, director, stockholder, partner, joint
                     venturer, investor or otherwise, (other than a limited partner or
                     stockholder of less than one percent of the issued and outstanding
                     limited partnership interests or stock of a publicly held partnership
                     or corporation whose gross assets exceed $1,000,000) in the
                     distribution, solicitation, promotion, manufacture, design,
                     development, or sale of any medical products or services
                     competitive with products manufactured, marketed, or sold by the
                     Company or any of its subsidiaries or any medical products or
                     services intended to be manufactured, marketed, or sold by the
                     Company of the same general type or function.

                     (A copy of the restricted stock agreements is attached hereto as
                     Exhibit B).

         16.         Mr. Darr performed well in his position, and developed close business

relationships with the clients of Wright and Surgical Technologies.

         17.         Several years later, in 2006, Surgical Technologies hired Charles Hall to assist

Mr. Darr in selling Wright's products in northeast Arkansas.



                                                      4
M JCHOI 2040243 v5
2789037-000027
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 5 of 28



         18.         Because Mr. Hall was to be given the client contacts and confidential pricing

information of Wright and Surgical Technologies in order to perform his job, he was required to

sign a non-compete agreement with Surgical Technologies as a condition of his employment. A

copy of that agreement is attached as "Exhibit C".

         19.         Under the terms of that agreement, Mr. Hall agreed to not compete against Wright

or Surgical Technologies in specified counties in northeast Arkansas, including Craighead

County, for one year after leaving his employment with Surgical Technologies.

         20.         Like Mr. Darr, Mr. Hall performed well in his position, and developed close

business relationships with the clients of Wright and Surgical Technologies.

         21.         In early December of 2009, Mr. Darr and Mr. Hall informed Surgical

Technologies that they would be leaving at the end of the year and going to work for Mark

Starring in northeast Arkansas.

         22.         Mark Starring sells reconstructive joint devices and biologics for another

manufacturer in direct competition with Wright and Surgical Technologies in northeast

Arkansas, including Craighead County.

         23.         In January of 2010, Surgical Technologies learned that Mr. Darr and Mr. Hall had

not only gone to work for Mark Starring, but were reconstructive joint devices and biologics for

Mark Starring to clients of Wright and Surgical Technologies in Craighead County.

         24.         Mr. Darr and Mr. Hall continue to sell reconstructive joint devices and biologics

for Mark Starring to clients of Wright and Surgical Technologies in Craighead County.

         25.         Upon information and belief, Mr. Darr and Mr. Hall have disclosed trade secrets

of Wright and Surgical Technologies to Mark Starring, and Mark Starring has used those trade

secrets in order to sell reconstructive joint devices and biologics to their customers.


                                                     5
M JCHOI 2040243 v5
2789037-000027
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 6 of 28



         26.         Mr. Darr and Mr. Hall started selling competitive products for Mark Starring to

clients of Wright and Surgical Technologies while still working for Surgical Technologies.

         27.         Armed with intimate knowledge of Plaintiffs' trade secrets information, including

complete knowledge of their research and development, pricing, cost and profit factors, sales

tactics, marketing plans and methods, customers, contracts, and personnel, Mr. Darr and Mr. Hall

have joined forces with Mark Starring to compete directly against Wright and Surgical

Technologies in the sale of reconstructive joint devices and biologics.

         28.         Based on information and reasonable belief, while working for Mark Starring and

during the effective period of the covenants not to compete, Mr. Darr and Mr. Hall have

competed directly against Wright and Surgical Technologies by soliciting their customers to buy

Mark Starring's products.         The solicitations included, without limitation, enticing customers

whose names became known to Mr. Darr and Mr. Hall during their employment with Surgical

Technologies to terminate their existing relationships with Wright and Surgical Technologies

and to start new relationships with Mark Starring.

         29.         Based on information and reasonable belief, Mr. Darr and Mr. Hall have attended,

and continue to attend, surgeries on behalf of Mark Starring for surgeons who have changed their

business from Wright and Surgical Technologies to Mark Starring.

         30.         The above described actions have caused damage to the goodwill, trade secrets,

confidential information, and future business of Wright and Surgical Technologies, and they will

continue to suffer irreparable damage in an amount to be determined at trial.




                                                     6
M JCHOI 2040243 v5
2789037-000027
               Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 7 of 28



                COUNT ONE - ENFORCEMENT OF NON-COMPETE AGREEMENT
                           BY WRIGHT AGAINST KEVIN DARR

         31.         By selling competitive products for Mark Starring to clients of Wright and

Surgical Technologies in Craighead County within one year after leaving the employment of

Surgical Technologies, Mr. Darr has violated, and continues to violate, the terms of his non-

compete agreement with Wright.

         32.         In violating his non-compete agreement with Wright, Mr. Darr has damaged, and

continues to damage, the goodwill, trade secrets, confidential information, and future business of

Wright in northeast Arkansas, including Craighead County.

         33.         Wright suffers a threat of irreperable harm to its goodwill, trade secrets,

confidential information, and future business in northeast Arkansas, including Craighead County,

if Mr. Darr is not enjoined from violating his non-compete agreement.

         34.         In order to protect against future damage to its goodwill, trade secrets,

confidential information, and future business in northeast Arkansas, including Craighead County,

Mr. Darr should be enjoined from competing against Wright in northeast Arkansas, including

Craighead County, until the end of2010.


                COUNT TWO - ENFORCEMENT OF NON-COMPETE AGREEMENT
                  BY SURGICAL TECHNOLOGIES AGAINST CHARLES HALL

         35.         By assisting Mr. Darr in selling competitive products for Mark Starring to clients

of Wright and Surgical Technologies in Craighead County within one year after leaving the

employment of Surgical Technologies, Mr. Hall has violated, and continues to violate, the terms

of his non-compete agreement with Surgical Technologies.




                                                     7
M JCHOI 2040243 v5
2789037-000027
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 8 of 28



         36.         In violating his non-compete agreement with Surgical Technologies, Mr. Hall has

damaged, and continues to damage, the goodwill, trade secrets, confidential information, and

future business of Surgical Technologies in northeast Arkansas, including Craighead County.

         37.         Surgical Technologies suffers a threat of irreperable harm to its goodwill, trade

secrets, confidential information, and future business in northeast Arkansas, including Craighead

County, if Mr. Hall is not enjoined from violating his non-compete agreement.

         38.         In order to protect against future damage to its goodwill, trade secrets,

confidential information, and future business in northeast Arkansas, including Craighead County,

Mr. Hall should be enjoined from competing against Surgical Technologies in northeast

Arkansas, including Craighead County, until the end of2010.


            COUNT THREE - VIOLATION OF ARKANSAS TRADE SECRETS ACT
                      BY PLAINTIFFS AGAINST DEFENDANTS

         39.         The client contacts and confidential pricing information of Wright and Surgical

Technologies constitute "trade secrets" under the Arkansas Trade Secrets Act.

         40.         By sharing the client contacts and confidential pricing information of Wright and

Surgical Technologies with Mark Starring, Mr. Darr and Mr. Hall has violated the Arkansas

Trade Secrets Act.

         41.         By using those client contacts and that confidential pncmg information to

compete against Wright and Surgical Technologies, Defendants have violated the Arkansas

Trade Secrets Act.

         42.         Plaintiffs suffer a threat of irreparable harm to their goodwill, trade secrets,

confidential infonilation, and future business in northeast Arkansas, including Craighead County,

if Defendants are not enjoined from violating the Arkansas Trade Secrets Act.


                                                     8
M JCHOI 2040243 vS
2789037-000027
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 9 of 28



         43.         In order to protect against future damage to their goodwill, trade secrets,

confidential information, and future business in northeast Arkansas, including Craighead County,

Defendants should be enjoined from competing against Wright and Surgical Technologies in

northeast Arkansas, including Craighead County, until the end of 20 I O.

         44.         Wright and Surgical Technologies have suffered substantial damages as a direct

and proximate result of Defendants' violations of the Arkansas Trade Secrets Act.

         45.         Defendants' violations of the Arkansas Trade Secrets Act were intentional and

committed with malice toward Wright and Surgical Technologies, warranting the imposition of

punitive damages.


            COUNT FOUR - INTERFERENCE WITH CONTRACTUAL RELATIONS
                      BY PLAINTIFFS AGAINST DEFENDANTS

         46.         Prior to the wrongful acts committed by Defendants, Wright and Surgical

Technologies had a legitimate business expectancy in continuing to do business with its clients in

Craighead County and throughout northeast Arkansas.

         47.         By competing against Wright and Surgical Technologies in violation of their non-

compete agreements, Mr. Darr and Mr. Hall have wrongfully interfered with Plaintiffs' legitimate

business expectancy in continuing to do business with its clients in Craighead County and

throughout northeast Arkansas.

         48.         By exploiting the client contacts and confidential pricing information that Mr.

Darr and Mr. Hall provided in violation of their non-compete agreements, Mark Starring has

wrongfully interfered with Plaintiffs' legitimate business expectancy in continuing to do business

with its clients in Craighead County and throughout northeast Arkansas.




                                                     9
M JCHOI 2040243 v5
2789037·000027
               Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 10 of 28



          49.        Wright and Surgical Technologies have suffered substantial damages as a direct

and proximate result of Defendants' wrongful interference with their legitimate business

expectancies in Craighead County and throughout northeast Arkansas.

          50.        Defendants'   wrongful    interference   with    Plaintiffs'   legitimate   business

expectancies was intentional and committed with malice toward Wright and Surgical

Technologies, warranting the imposition of punitive damages.


   COUNT FIVE - BREACH OF DUTY OF LOYALTY BY SURGICAL TECHNOLOGIES
                  AGAINST KEVIN DARR AND CHARLES HALL

          51.        By selling competitive products for Mark Starring to clients of Wright and

Surgical Technologies prior to leaving the employment of Surgical Technologies, Mr. Darr and

Mr. Hall violated their duty of loyalty to Surgical Technologies.

          52.        Surgical Technologies has suffered substantial damages as a direct and proximate

result of the breaches of the duty loyalty committed by Mr. Darr and Mr. Hall.

          53.        The breaches of the duty loyalty committed by Mr. Darr and Mr. Hall were

intentional and committed with malice toward Surgical Technologies, warranting the imposition

of punitive damages.


                                              JURY DEMAND

          54.        Plaintiffs demand a jury trial with respect to all issues of fact that may arise

herein.

          WHEREFORE, Plaintiffs, Wright Medical Technology, Inc. and Surgical Technologies,

LLC, pray for the following:

          1.         That the Court declares Kevin Darr to be        III   violation of his non-compete

agreement with Wright;

                                                     10
M JCHOI 2040243 v5
2789037-000027
              Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 11 of 28



         2.          That the Court declares Charles Hall to be in violation of his non-compete

agreement with Surgical Technologies;

         3.          That the Court issue emergency and permanent injunctive relief against Kevin

Darr and Charles Hall to enforce the terms of their non-compete agreements;

         4.          That they be awarded judgment against Defendants for all damages caused by

their violations of the Arkansas Trade Secrets Act, and their wrongful interference with their

legitimate business expectancies;

         5.          That Surgical Technologies be awarded judgment against Kevin Darr and Charles

Hall for all damages caused by their breaches of the duty of loyalty;

         6.          That they be awarded punitive damages against Defendants for their intentional

and malicious behavior toward Plaintiffs;

         7.          That they be awarded their costs herein expended, including reasonable attorney's

fees pursuant to Ark. Code Ann. § 16-22-308 and the Arkansas Trade Secrets Act, against

Defendants; and

         8.          That they be awarded all other relief to which they may be entitled.




                                                      11
M JCHOI 2040243 v5
2789037-000027
Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 12 of 28



                                Respectfully submitted,

                                WRIGHT MEDICAL TECHNOLOGY, INC.,
                                Plaintiff

                                BAKER, DONELSON, BEARMAN,
                                CALDWELL & BERKOWITZ, PC
                                165 Madison Avenue
                                First Tennessee Building
                                Memphis, TN 38103
                                901-526-2000 (phone)
                                901-577-2303 (fax)




                                SURGICAL TECHNOLOGIES, LLC,
                                Plaintiff

                                BOWEN LAW FIRM, PLLC
                                P.O. Box 7273
                                Little Rock, AR 72217
                                501-614-3800 (phone)
                                501-614-3804  (£%.) //_
                                                        ~
                                              /://'/ //>/'
                          By:                  i




                                12
Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 13 of 28




                         EXHIBIT A
                  Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 14 of 28



                               SALES REPRESENTATIVE AWARD AGREEMENT

                     TIllS AGREEMENT, made as ofMarch, 21, 2006 (the "Effective Date"), by and between Wright
(-   Medical Group, Inc., aDelaware COIJX)ration ("WMG'~, and Kevin Darr (the "Participant'~.



                      WHFREAS, the Participant is currently perfonning non-employee services for Wright Medical
     Technology, Inc., a Delaware COIpOl'ation and wholly-{)wned subsidiary ofWMG ("WMT" and, together with WMG and
     WMG's Related Entities, the "Company'~, related to the promotion and sales oforthopedic implant devices ma:nufuctured by
     WMr, including related improvements and line extensions, pursuant to that certain agreement, effective April, 2001,
     between WMrs distnbutor, Paul MassaISurgical Technologies, and Kevin Darr (the "Sales Representative Agreement'~;
     and.

                       WHFREAS, the Company desires to afford the Participant the opportunity to acquire ownership of
     WMG's connnon stock, par value $.01 per share C'Corrnnon Stoclc'~, so that the Participant may have a direct proprietaJy
     interest in the Company's success.

                       NOW, THEREFORE, in consideration of the covenants and agreements herein contained, the parties
     hereby agree as follows:

             1.      Grant ofOptions. Subject to the tenns and conditions set forth herein and in the Amended and Restated
                     Wright Medical Group, Inc. 1999 Equity Incentive Plan, a copy ofwhich is attached hereto as Exlubit A
                     (the "Plan'~, on the Effective Date the Company does hereby grant to the Participant, during the period
                     connnencing on the Effective Date and ending on the 10th anniversaI)' of the Effective Date (the
(                    "Expiration Datel~, the right and option (theright to purchase anyone share tmder this Agreement being an
                     "Option'~ to purchase fium the Company 300 shares of Connnon Stock. The Option to purchase such
                     Corrnnon Stock shall have an exercise price of 20.1 9 per share. Eacl1 ofthe Options grantoo pursuant to
                     this Agreement shall constituteNonquali:fi.ed Stock Options under the Plan.

             2.      Limitations on Exercise of Options.

                     (a)     Subject to the terms and conditions set forth herein and in the Plan, the Options
                             shall vest and become exercisable, on a cwnulative basis, with respect to 25% of
                             the shares on the first anniversary of the Effective Date and on each succeeding
                             anniversary thereafter so long as the Participant is employed by the Company;
                             provided, however, upon the occurrence of a Change of Control, as defined below,
                             all of the then unvested Options shall automatically vest and be fully exercisable
                             and shall remain so exercisable in accordance with the terms of this Agreement.
                             The Committee or the Board may accelerate the vesting and exercisability of any or
                             all of the then-unvested Options at any time.

                     (b)      For purposes of this Agreement, a "Change of Control" shall mean:

                             (i)      The acquisition by any individual, entity or group (within the meaning of
                                      Section 13(d)(3) or 14(d)(2) of the Securities Exchange Act of 1934, as
                                      amended (the "Exchange Act")) (a "Person") of beneficial ownership
                                      (within the meaning of Rule 13d-3 promulgated under the Exchange Act) of
                                      50% or more (on a fully diluted basis) of either (A) the then outstanding
                                      shares of common stock of the Company, taking into account as outstanding
                                      for this purpose such common stock issuable upon the exercise of options or
                        Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 15 of 28



                                                  warrants, the conversion of convertible stock or debt, and the exercise of
                                                  any similar right to acquire such common stock (the "Outstanding Company
                                                  Common Stock") or (B) the combined voting power of the then outstanding
    (                                             voting securities of the Company entitled to vote generally in the election of
                                                  directors (the "Outstanding Company Voting Securities"); provided,
                                                  however, that for purposes of this subsection (i), the following acquisitions
                                                  shall not constitute a Change of Control: (w) any acquisition pursuant to an
                                                  initial public offering of shares of common stock of the Company pursuant
                                                  to a registration statement declared effective under the Securities Act of
                                                  1933, as amended, (x) any acquisition by the Company or any "affiliate" of
                                                  the Company, within the meaning of 17 C.P.R. § 230.405 (an "Affiliate"),
                                                  (y) any acquisition by any employee benefit plan (or related trust) sponsored
                                                  or maintained by the Company or any Affiliate, (z) any acquisition by any
                                                  corporation or business entity pursuant to a transaction which complies with
                                                  clauses (A), (B) and (C) of subsection (ii) of this Section 2(b) (persons and
                                                  entities described in clauses (w), (x), (y) and (z) being referred to herein as
                                                  "Penmtted Holders"); or

                                       (ii)      The consummation of a reorganization, merger or consolidation or sale or
                                                 other disposition of all or substantially all of the assets of the Company (a
                                                 "Business Combination"), in each case, unless, following such Business
                                                 Combination, (A) all or substantially all of the individuals and entities who
                                                 were the beneficial owners, respectively, of the Outstanding Company
                                                 Common Stock and Outstanding Company Voting Securities immediately
                                                 prior to such Business Combination beneficially own, directly or indirectly,
(                                                more than 60% of, respectively, the then outstanding shares of common
                                                 stock and the combined voting power of the then outstanding voting
                                                 securities entitled to vote generally in the election of directors, as the case
                                                 may be, of the corporation resulting from such Business Combination
                                                 (including, without limitation, a corporation which as a result of such
                                                 transaction owns the Company or all or substantially all of the Company's
                                                 assets either directly or through one or more subsidiaries) in substantially
                                                 the same proportions as their ownership, immediately prior to such Business
                                                 Combination, of the Outstanding Company Common Stock and Outstanding
                                                 Company Voting Securities, as the case may be, (B) no Person (excluding
                                                 any Permitted Holder) beneficially owns, directly or indirectly, 50% or more
                                                 (on a fully diluted basis) of, respectively, the then outstanding shares of
                                                 common stock of the corporation resulting from such Business
                                                 Combination, taking into account as outstanding for this purpose such
                                                 common stock issuable upon the exercise of options or warrants, the
                                                 conversion of convertible stock or debt, and the exercise of any similar right
                                                 to acquire such common stock, or the combined voting power of the then
                                                 outstanding voting securities of such corporation except to the extent that
                                                 such ownership existed prior to the Business Combination, and (C) at least a
                                                 majority of the members of the board of directors of the corporation
                                                 resulting from such Business Combination were members of the incumbent
(                                                Board at the time of the execution of the initial agreement providing for
                                                 such Business Combination; or


        Distributor Stock Option Agreement.Sales Rep Rev. 0203           2
                     Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 16 of 28



                                    (iii)      The approval by the shareholders of the Company of a complete liquidation
                                               or dissolution of the Company; or

 (                                  (iv)       The sale of at least 80% ofthe assets of the Company to an unrelated party,
                                               or completion of a transaction having a similar effect; or

             The individuals who on the date of this Agreement constitute the Board thereafter cease to
     constitute at least a majority thereof; provided that any person becoming a member of the Board
     subsequent to the date of this Agreement and whose election or nomination was approved by a vote of at
     least two-thirds of the directors who then comprised the Board immediately prior to such vote shall be
     considered a member of the Board on the date of this Agreement.

              3.        Non-Transferable. Except as specifically authorized by the Committee, the Participant may not transfer the
     Options except by will or the laws of descent and distribution and the Options shall be exercisable during the Participanfs
     lifetime only by the Participant or, in the event ofhis incapacity, his guardian orlegal representative. Except as so authorized,
     no purported assignment or transfer ofthe Options, or ofthe rights represented thereby, whether voluntmy or invo!untmy, by
     operation oflaw or otherwise (except by will or the laws ofdescent and distnbution), shall vest in the assignee or transferee
     any interest or right herein whatsoever.

              4.        Tennination ofService. (a) Disability. It: prior to 100Expiration Date, the Participant's Service shall cease
     byreason ofa Disability, as defined in the Plan, orthe Participant's Service sha1l cease fur any reason with the written consent
     ofthe Committee, then the Options shall remain exercisable until the earlier ofthe Expiration Date or the date that is thirty
     (30) days after the date ofsuch cessation ofService, but only to the extent theOptions were vested and exercisable at the time
     of such cessation ofService.

(                     (b) Without Cause. Ifthe Company tenninates the Participant's Service without Cause, then the Options
     shall remain exercisable until the earlier of the Expiration Date or the date that is ninety (90) days after the date of such
     cessation ofService.

                      (c) Vohmtary; for Cause. Ifthe Participant's Service is voluntarily terminated by the Participant for reasons
     other than Disability and without the consent of the Committee or the Company terminates the Participant's Service for
     Cause, then all ofthe Options, to the extent not exercised prior to such tennination, whether cxeIcisable or not, shall lapse
     and be canceled immediately upon such CC&.'3ation ofService.

                       (d) Death. Ifthe Participant's Service shall cease prior to the Expiration Date by reason ofdeath, or the
     Participant shall die while entitled to exercise any of the Options pursuant to Section 4(a) or 4(b), the executor or
     administrator ofthe estate ofthe Participant orthe person or persons to whom the Options shall have been validly transferred
     bythe exocutor or administrator pmsuant to will or the laws ofdescent and distnbution shall have the right, until the earlierof
     the Expiration Date or one (1) year after the date ofdeath, to exercise the Options, but only to the extent that the Participant
     was entitled to exercise them on the date ofdeath and subject to any other limitation contained herein on the exercise ofthe
     Options in effectonthe date ofexeIcise.

                       (e) Whether Service has been or could have been tenninated fur the purposes ofthis Agreement, and the
     re2SOns therefor, shall be deterinined by the Committee, whose detennination shall be final, binding and conclusive.

                       (f) Options that have not yet vested at the time oftemrination ofthe Participanfs Service shall expire and
     no further vesting shall occur with respect thereto. After the expiration ofany exercise period de;cribed in this Section 4, the
(,   Options shall temrinate together with all ofthe Participant's rights hereunder, to the extent not previously exercised.

               S.        Adjustments and Corporate Reorganizations. In accordance with and subject to the applicable tenns ofthe

     Distributor Stock Option Agreement-Sales Rep Rev. 0203         3
                   Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 17 of 28



    Plan, the Options shan be subject to adjustment or substitution, as detennined by the Committa; as to the mnnber, price or
    kind of Stock or other consideration subject to such Options or as otheIwise detennined by the Connnittee to be equitable (i)
    in the event of changes in the outstanding Stock or in the capital st:t.uetw'e of the Company by reason of stock dividends,
(   stock splits, reverse stock splits, recapitalizations, rwrganizations, mergers, consolidations, combinations, exchanges, or
    other relevant changes in capitalization occuning after the date hereofor (ii) in the event of any change in applicable laws or
    any change in circumstances which results in or would result in any substantial dilution or enlargement ofthe rights gran«rl
    to, or available fur, the Participant The Company shall give the Participant written notice of an adjustment hereunder.
    ~~gan~hmmtothe~,inthe~~manymthe~ooMg.

                      (a)    The Company is merged or consolidated with another corporation or entity and, in
              connection therewith, consideration is received by shareholders of the Company in a fonn other
              than stock or other equity interests of the surviving entity;

                        (b)        All or substantially all of the assets of the Company are acquired by another person;

                        (c)        The Company's reorganization or liquidation; or

                      (d)     The Company shall enter into a written agreement to Wldergo an event described in
              clauses (a), (b) or (c) above,

    then the Committee may, in its discretion and upon at least 10 days advance notice to the affected persons,
    cancel any outstanding Options and pay to the Participant, in cash, the value of such Options based upon
    the price per share of Stock received or to be received by other shareholders of the Company in such event
    and the per share exercise price of the Options.                                                     .

(             6.       Exercise: Pavrnent For and Delivery of Common Stock. The Options shall be exercised by delivering
     written notice to the Connnittee stating the mnnber of shares of Common Stock to be purchased, the person or persons in
    whose name the shares of Common Stock are to be registered and each such person's address and social sro.nity number.
    Such notice shall not be effective unless accompanied by the full purchase price fur all shares to be purchased, and any
    applicable withholding (as descnbed below). The purchase price shall be payable in cash, in shares ofCommon Stock, any
    combination of cash or shares of Corrunon Stock or any other method authorized by the Plan and consen«rl to by the
    Committee; provid~ however, that the Participant may use Common Stock in payment of the exercise price only if the
    shares so used are considered ''mature'' for pmposes ofgenerally accep«rl acrounting principles @, (i) been held by the
    Participant free and clear fur at least six (6) months prior to the use thereofto pay part ofan Option exercise price, (ii) been
    purchased by the Participant in other than a cornpensmozy transaction, or (iii) meet any other requirements fur ''mature''
    shares as may exist on the date ofthe use thereof to pay part ofan Option exercise price). In the ~ent that all or part ofthe
    purchase price is paid in shares ofCommon Stock, the shares used in payment shall be valued at their Fair Market Value on
    the date ofexercise ofthe Options. At the time ofexercise, the Participant shall pay to the Company, in cash, or by having
    the Company withhold upon exercise ofthe Option a sufficient number of shares ofCommon Stock otherwise deliverable
    to the Participant based on the Fair Market Value of the Common Stock on the date of exercise, at the election of the
    Participant, such minimmn amount as the Company deems necessary to satisfY its obligation to withhold Federal, state or
    local income or other taxes incurred byreason of the exercise or the transfer of shares thereupon Payment in a.nrency or by
    certified or cashiets check shall be considered payment in cash.

             7.      Restrictive Covenants; Repurchase Rights. (a) By accepting the Options, the Participant repro;en.ts and
    agrees for himselfand his transferees (wl1et:ht:7' by will or the laws ofdescent and distribution) that:
(                     (i) For the period commencing on the date of this Agreement and ending on the first one
              year anniversary of the tennination of the Participant's service (such period is hereinafter referred
              to as the "Restricted Period"), with respect to any geographic territories in which the Company is
    DisUibutor Stock Option Agreement-Sales Rep Rev. 0203          4
----------------------




                         Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 18 of 28



                    engaged in business during the period for which the Participant is engaged to provide Service and,
                    for the one year period following such period of Service, with respect to the territory of the
                    Participant's Service (such periods are hereinafter referred to as the "Restricted Period"), the
     (              Participant shall not participate or engage, directly or indirectly, for himself or herself or on behalf
                    of or in conjunction with any person, partnership, corporation or other entity, whether as an
                    employee, agent, officer, director, shareholder, partner, joint venturer, investor or otherwise, (other
                    than a limited partner or stockholder of less than one percent of the issued and outstanding limited
                    partnership interests or stock of a publicly held partnership or corporation whose gross assets
                    exceed $1,000,000) in the distribution, solicitation, promotion, manufacture, design, development,
                    or sale of any medical products or services competitive with products manufactured, marketed, or
                    sold by the Company or any of its subsidiaries or any medical products or services intended to be
                    manufactured, marketed, or sold by the Company of the same general type or function. The parties
                    intend the restrictions in this Paragraph 7 to be completely severable and independent, and any
                    invalidity or unenforceability of anyone or more of such restrictions shall not render invalid or
                    unenforceable anyone or more restrictions.

                            (ii) Except with the Company's prior written approval or as may otherwise be required by
                    law or legal process, the Participant shall not disclose any material or information which is
                    confidential to the Company and not in the public domain or generally known in the industry,
                    whether tangible or intangible, made available, disclosed or otherwise known to the Participant as
                    a result of the Participant's Service.

                            (iii) During the Restrictive Period, the Participant shall not attempt to influence, persuade
                    or induce, or assist any other person in so persuading or inducing, any employee of the Company
                    to give up, or to not commence, employment or a business relationship with the Company.
    (
                          (b) In addition to all other legal and equitable remedies available to it, the Company shall
          have the right, and not the obligation, to purchase and acquire from the Participant any or all of the shares
          of Common Stock previously acquired by the Participant upon exercise of the Option (the "Repurchased
          Shares") if the Committee elects to take such action, in its absolute discretion, on the basis of the
          Committee's determination that the Participant has violated any of the covenants set forth in this
          Agreement or if the Participant's Service shall be terminated or could have been terminated for Cause.
          The Company may exercise the right granted to it Wlder this Section 7(b) by delivering written notice to
          the Participant stating that the Company is exercising the repurchase right granted to it under this Section
          7(b). The delivery of such notice by the Company to the Participant shall constitute a binding
          commitment of the Company to purchase and acquire aJI of the Repurchased Shares. The total purchase
          price for the Repurchased Shares shall be delivered to the Participant against delivery by the Participant of
          certificates evidencing the Repurchased Shares no later than 30 days after the delivery of the election
          notice by the Company. The price per share of the Repurchased Shares shall be the lesser of the Fair
          Market Value of each of the Repurchased Shares on the date of the Company's delivery of its written
          notice to the Participant or the exercise price of the Optio!1'

                          (c) In addition to all other legal and equitable remedies available to it, the Company shall
          have the right, and not the obligation, to cancel any or all of the Participant's Options if the Committee
          elects to take such action, in its absolute discretion, on the basis of the Committee's determination that the
          Participant has violated the covenants set forth in this Agreement. The Company may exercise the right
          granted to it Wlder this Section 7(c) by delivering a written notice to the Participant stating that the
          Company is exercising the cancellation right granted to it under this Section 7(c).

                              (d) Anything in this Section 7 to the contrary, the Company shall not be obligated to
          Distributor Stock Option Agreement-Sales Rep Rev. 0203   5
                    Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 19 of 28



    purchase any Common Stock at any time to the extent that the purchase would result in a violation of any
    law, statute, rule, regulation, order, writ, injunction, decree or judgment promulgated or entered by any
    Federal, state, local or foreign court or governmental authority applicable to the Company or any of its
(   property.

              8.       Rights as Stockholder. Representations. (a) The Participant or a transferee of the Options shall have no
    rights as a stockholder with n:spect to any shares covered by the Options until he shall have become the holder of record of
    such shares (and the Company shall use its reasonable best efforts to cause the Participantpronlptlyto become the holder of
    record of such shares), and, except as provided in Section 5 hereof: no adjustment shall be made for dividends or
    distributions or other rights in respect ofsuch shares fur which the record date is priorto the date upon which he shall become
    the holder orrecord thereof

                         (b) The Participant acknowledges and agrees that any Common Stock acquired in respect
    of the Options granted under Section 2 shall be "Shares" as such term is used in the Stockholders
    Agreement, dated as of December 7, 1999, among WMG and certain "Investors" listed in Schedule I
    thereto, and, as such, will be subject to certain restrictions, including restrictions on resale and such other
    transfers. In the event of any conflict or inconsistency between the terms and provisions of this Agrament and the
    Stockholders Agreanent, the Stockholders Agreement shall govern and control.

                     (c) By accepting the Options, the Participant represents and warrants for himself and his transfurees
    (whether by will or the laws ofdescent and distnbution) that:

                      (i) The sale and marketing of the Company's products by the Participant are the
              Participant's primary trade or business; and
(                    (ii) During the last calendar year the Participant derived, and during the next calendar year
              the Participant expects to derive, the majority of the Participant's earned income from the sales
              and marketing of the Company's products.

             9.       Company; Participant (a) The tetm "Company" as used in this Agreement shall include the Company
    and its Related Entities, except to the extent otherwise indicatedby the context or usage.

                        (b) Whenever the word "Participant" is used in any provision of this Agreement under
    circumstances where the provision should logically be construed to apply to the executors, the
    administrators, legal representatives, the person or persons to whom the Options may be transferred by
    will or by the laws of descent and distribution or any other transferee to whom the Options may be
    transferred with the consent of the Committee, the word "Participant" shall be deemed to include such
    person or persons.

              10.      Requirements ofLaw. (a) By accepting the Options, the Participant represents and agrees fur himself ani
    his transrerees (whether by will or the laws of descent and distribution) that, unless a registration statement under the
    Securities Act of 1933, as amended (the "Act''), is in effi:ct as to shares purchased upon any exercise ofthe Options, (i) any
    and all shares so purchased shall be acquired for his personal account and not with a view to or fur sale in connection with
    any distribution, and (n) each notice ofthe exercise ofany portion of this Option shall be accompanied by a representation
    and WIDrdIlty in writing, signed by the person entitled to exercise the same, that the shares are being so acquired in good faith
    for his personal account and not with a view to or for sale in connection with any distribution.

(                   (b) No certificate or certificates for shares of Common Stock may be purchased, issued or
    transferred if the exercise hereof or the issuance or transfer of such shares shall constitute a violation by
    the Company or the Participant of any (i) provision of any Federal, state or other securities law, (ii)
    Distributor Stock Option Agreement-Sales Rep Rev. 0203         6
                     Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 20 of 28



    requirement of any securities exchange listing agreement to which the Company may be a party, or (iii)
    other requirement of law or of any regulatory body having jurisdiction over the Company. Any reasonable
    determination in this connection by the Board, lJlXlIl notice given to the Participant, shall be final, binding and conclusive.
(
                  (c) The certificates representing shares of Common Stock acquired pursuant to the .
    exercise of Options shall carry such appropriate legend,and such written instructions shall be given to the
    Company's transfer agent, as may be deemed necessary or advisable by counsel to the Company in order
    to comply with the requirements ofthe Act or any state securities laws.

              11.     Notices. Any notice to be given to either party shall be in writing and shall be given by hand delivery to
    such party orby registered or certified mail, return receipt requested, pootage prepaid, addressed to the Company in alre ofits
    Secretary at its principal office, and to the Participant at the address given beneath his signature hereto, or at such other
    address as either party shall have furnished to the other in writing in accordance herewith. Notice and communications shall
    be effective when actuallyreceived bythe addressee.

               12.       Binding Effect. This Agreement shall be binding upon the heirs, executors, administrators, succesoors and
    permitted assi~ of the parties hereto.

             13.      The Plan. The tenns and provisions of the Plan are incorporated herein by reference and made a part
    hereof as though fully set forth herein. In the event of any conflict or inconsistency between discretionary terms and
    provisions of this Agreement, this Agreement shall govern and control. In all other instances of conflicts or inconsistencies
    or omissions, the terms and provisions of the Plan shall govern and control. All capitalized terms not otherwise expressly
    defined in this Agreement shall have the meaning ascribed to them in the Plan.

             14.    Governing Law. This Agreement shall be construed and interpreted in accordance with the laws of the
    State ofTennessee, without regard to the principles ofconflic1s oflaw thereof

              15.       Fntire Agreement This Agreement, together with the Plan, contains the entire agreement and
    understanding between the parties with respect to the subject matter hereof and supersedes all prior agreements, written or
    oral, with respect thereto. This Agreement, and this integration clause, is not intended to, and does not, limit or alter in any
    manner, the parties' obligations under any previous agreement concerning obligations to maintain confidentiality or with
    respect to restrictive covenants, including, but not limited to, any Nondisclosure Agreement, Confidentiality and Inventions
    Agreement, Employment Agreement, Distributor Agreement, Sales Representative Agreement, or any similar agreement
    between the parties, all ofwhich obligations shall remain in full fon:e and effu::t.

                  IN WITNESS WHEREOF, the Company has granted this Option on the date of grant
    specified above. This instrument may be executed in any number of counterpartS, each of which shall be
    deemed to be an original, and such counterparts together shall constitute one and the same instrument.

                                                             WRIGHT MEDICAL GROUP, INC.

                                                             By:-i--"'t----""'---='--=-----"'''"''-=='''
                                                                Ja     . Hood, Vice President, General
                                                              . Counsel & Secretary




    Distlibutor Stock Option Agreement-Sales Rep Rev. 0203          7
Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 21 of 28




                         EXHIBITB
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 22 of 28




                                       WRIGHT MEDICAL GROUP. INC.
                                      Restricted Stock Grant Agreement
                                             Sales Representative



Award Granted to ("Grantee"):                      Grant Date:               Number of Shares ("Shares"):
        Kevin Darr                                 March 4, 2008                            135

        THIS RESTRICTED STOCK GRANT AGREEMENT (the "Agreement") is made as of the Grant
Date by and between Wright Medical Group, Inc., a Delaware corporation with its principal place of
business at 5677 Airline Road, Arlington, Tennessee 38002 (the ·Company") and Grantee pursuant to the
Wright Medical Group, Inc. 1999 Equity Incentive Plan, as amended from time to time (the ·Plan·) and
which is hereby incorporated by reference.

            WHEREAS, Grantee is associated with the Company or its affiliate as sales representative; and

         WHEREAS, the Compensation Committee of the Company's Board of Directors (the
·Committee") has authorized that Grantee be granted shares of the Company's Common Stock ("Stock")
subject to the restrictions stated below:

            NOW, THEREFORE, the parties agree as follows:

1.   Grant of Stock. Subject to the terms and conditions of this Agreement and of the Plan, the Company
     hereby grants to Grantee the Shares.

2.   Vesting Schedule. The interest of Grantee in the Shares shall vest as to one-fourth C~) of the Shares
     on the first anniversary of the Grant Date, and as to an additional one-fourth C~) on each succeeding
     anniversary date, so as to be 100% vested on the fourth anniversary thereof, conditioned upon
     Grantee's continued association with the Company as of each vesting date. Notwithstanding the
     fore~oing, the interest of Grantee in the Shares shall vest as to:

     2.1.      100% of the then unvested Shares upon a Change of Control. For purposes of this
               Agreement a ·Change of Control" shall mean the first to occur on or after the Grant Date of
               any of the following: The acquisition by any individual, entity or group (within the meaning of
               Section 13(d)(3) or 14(d)(2) of the Securities Exchange Act of 1934, as amended (the
               ·Exchange Act"» (a "Person") of beneficial ownership (within the meaning of Rule 13d-3
               promulgated under the Exchange Act) of 50% or more (on a fully diluted basis) of either (A)
               the then outstanding shares of Stock, taking into account as outstanding for this purpose
               such Stock issuable upon the exercise of options or warrants, the conversion of convertible
               stock or debt, and the exercise of any similar right to acquire such Stock (the "Outstanding
               Company Common Stock") or (B) the combined voting power of the then outstanding voting
               securities of the Company entitled to vote generally in the election of directors (the
               "Outstanding Company Voting Securities"); provided, however, that for purposes of this
               subsection (a), the following acquisitions shall not constitute a Change of Control: (x) any
               acquisition by the Company or any "affiliate" of the Company, within the meaning of 17 C.F.R.
               § 230.405 (an Affiliate"), (y) any acquisition by any employee benefit plan (or related trust)
                              II


               sponsored or maintained by the Company or any Affiliate. (z) any acquisition by any
               corporation or business entity pursuant to a transaction which complies with clauses (A) and
               (B) of subsection (a) of this Section 2.1 (persons and entities described in clauses (x), (y),
               and (z) being referred to herein as "Permitted Holders");

               (a)      The consummation of a reorganization, merger or consolidation or sale or other
               disposition of all or substantially all of the assets of the Company (a "Business Combination"),
               in each case, unless, following such Business Combination, (A) all or substantially all of the
               individuals and entities who were the beneficial owners, respectively, of the Outstanding
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 23 of 28



Restricted Stock Grant Agreement
Page 2


              Company Common Stock and Outstanding Company Voting Securities immediately prior to
              such Business Combination beneficially own, directly or indirectly, more than 60% of,
              respectively, the then outstanding shares of common stock and the combined voting power of
              the then outstanding voting securities entitled to vote generally in the election of directors, as
              the case may be, of the corporation resulting from such Business Combination (including,
              without limitation, a corporation which as a result of such transaction owns the Company or
              all or substantially all of the Company's assets either directly or through one or more
              sUbsidiaries) in substantially the same proportions as their ownership, immediately prior to
              such Business Combination, of the Outstanding Company Common Stock and Outstanding
              Company Voting Securities, as the case may be, (B) no Person (excluding any Permitted
              Holder) beneficially owns, directly or indirectly, 50% or more (on a fully diluted basis) of,
              respectively, the then outstanding shares of common stock of the corporation resulting from
              such Business Combination, taking into account as outstanding for this purpose such
              common stock issuable upon the exercise of options or warrants, the conversion of
              convertible stock or debt, and the exercise of any similar right to acquire such common stock,
              or the combined voting power of the then outstanding voting securities of such corporation
              except to the extent that such ownership existed prior to the Business Combination, and (C)
              at least a majority of the members of the board of directors of the corporation resulting from
              such Business Combination were members of the incumbent Board at the time of the
              execution of the initial agreement providing for such Business Combination;

              (b)       The approval by the stockholders of the Company of a complete liquidation or
              dissolution of the Company;

              (c)     The sale of at least 80% of the assets of the Company to an unrelated party, or
              completion of a transaction haVing a similar effect; or

              (d)      The individuals who on the date of this Agreement constitute the Board of Directors
              thereafter cease to constitute at least a majority thereof; provided that any person becoming
              a member of the Board of Directors subsequent to the date of this Agreement and whose
              election or nomination was approved by a vote of at least two-thirds of the directors who then
              comprised the Board of Directors immediately prior to such vote shall be considered a
              member of the Board of Directors on the date of this Agreement.

     2.2.     100% of the unvested Shares upon Grantee's death.

3.   Restrictions.

     3.1.     The Shares granted hereunder may not be sold, pledged or otherwise transferred until the
              Shares become vested in accordance with this Agreement. The period of time between the
              Grant Date and the date the Shares become vested is referred to as the "Restriction Period."

     3.2.    If Grantee's association with the Company is terminated, the balance of the Shares subject to
             the provisions of this Agreement which have not vested at the time of Grantee's termination
             shall be forfeited by Grantee, and ownership transferred back to the Company.

     3.3.     By accepting the Shares, Grantee represents and agrees for himself and his transferees
              (whether by will or the laws of descent and distribution) that:

             (a)      For the period commencing on the Grant Date and ending on the first anniversary of
             the termination of Grantee's service (such period is hereinafter referred to as the "Covenant
             Period "), with respect to any geographic territories in which the Company is engaged in
             business during the period for which Grantee provided service to the Company, Grantee shall
             not participate or engage, directly or indirectly, for himself or on behalf of or in conjunction
             with any person, partnership, corporation or other entity, whether as an employee, agent,
            Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 24 of 28



Restricted Stock Grant Agreement
Page 3


              officer, director, stockholder, partner, joint venturer, investor or otherwise, (other than a
              limited partner or stockholder of less than one percent of the issued and outstanding limited
              partnership interests or stock of a publicly held partnership or corporation whose gross assets
              exceed $1,000,000) in the distribution, solicitation, promotion, manufacture, design,
              development, or sale of any medical products or services competitive with products
              manufactured, marketed, or sold by the Company or any of its subsidiaries or any medical
              products or services intended to be manufactured, marketed, or sold by the Company of the
              same general type or function.

              (b)     Except with the Company's prior written approval or as may otherwise be required by
              law or legal process, Grantee shall not disclose any material or information which is
              confidential to the Company or its subsidiaries and not in the public domain or generally
              known in the industry, whether tangible or intangible, made available. disclosed or otherwise
              known to Grantee as a result of his service with the Company.

              (c)      During the Covenant Period, Grantee shall not attempt to influence, persuade or
              Induce, or assist any other person in so persuading or inducing, any employee of the
              Company or its subsidiaries to give up, or to not commence. employment or a business
              relationship with the Company.

     3.4.     The Company shall have the right, but not the obligation, to purchase and acquire from
              Grantee any or all of the Shares (the "Repurchased Shares") if the Committee reasonably
              determines that Grantee has violated the covenants set forth in this Agreement or Grantee's
              service is terminated or could have been terminated for Cause (as defined in the Plan). The
              Company may exercise the right granted to it under this Section 3.4 by delivering written
              notice to Grantee stating that the Company is exercising the repurchase right granted to it
              under this Section 3.4. The delivery of such notice by the Company to Grantee shall
              constitute a binding commitment of the Company to purchase and acquire all of the
              Repurchased Shares. The total purchase price for the Repurchased Shares shall be
              delivered to the Participant against delivery by Grantee of certificates evidencing the
              Repurchased Shares no later than 30 days after the delivery of the election notice by the
              Company. The price per share of the Repurchased Shares shall be the lesser of 1) the Fair
              Market Value (as defined in the Plan) of each of the Repurchased Shares on the date of the
              Company's delivery of its written notice to Grantee or 2) the Fair Market Value of each of the
              Repurchased Shares on the date that such shares vested to the Grantee without regard to
              any election by the Grantee under Section 83(b) of the Internal Revenue Code of 1986, as
              amended.

     3.5.     The Company shall have the right, but not the obligation, to cancel any or all of the Shares rt
              the Committee reasonably determines that Grantee has violated the covenants set forth in
              this Agreement. The Company may exercise the right granted to it under this Section 3.5 by
              delivering a written nollce to Grantee stating that the Company is exercising the cancellation
              right granted to it under this Section 3.5.

     3.6.     Notwithstanding anything in this Section 3 to the contrary, the Company shall not be
              obligated to purchase any Stock at any time to the extent that the purchase would result in a
              violation of any law, statute, rule, regulation, order. writ, injunction. decree or judgment
              promulgated or entered by any Federal, state, local or foreign court or governmental authority
              applicable to the Company or any of its property.

     3.7.     The parties intend the restrictions in Section 3.3 to be completely severable and independent.
              and any invalidity or unenforceability of anyone or more such restrictions shall not render
              invalid or unenforceable anyone or more restrictions.

4.   Legend. All certificates representing any shares of Stock subject to the provisions of this Agreement
         Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 25 of 28



Restricted Stock Grant Agreement
Page 4


     shall have endorsed thereon the following legend:

                 THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUB,IECT
                 TO A RESTRICTED STOCK GRANT AGREEMENT BETWEEN THE
                 COMPANY AND THE REGISTERED HOLDER, A COpy OF WHICH IS
                 ON FILE AT THE PRINCIPAL OFFICE OF THIS COMPANY.

5.   Escrow. The certificate or certificates eVidencing the Shares subject hereto shall be delivered to and
     deposited with the Secretary of the Company as Escrow Agent in this transaction. The Shares may
     also be held in a restricted book entry account in the name of Grantee. Such certificates or such
     book entry shares are to be held by the Escrow Agent until termination of the Restriction Period,
     when they shall be released by the Escrow Agent to Grantee.

6.   Stockholder Rights. During the Restriction Period, Grantee shall have all the rights of a stockholder
     with respect to the Shares except for the right to transfer the Shares as set forth in Section 3 and
     except as set forth in Section 7. Accordingly, Grantee shall have the right to vote the Shares and to
     receive any cash dividends paid to or made with respect to the Shares.

7.   Changes in Stock. In the event that as a result of (i) any stock dividend, stock split or other change in
     the Stock, or (il) any merger or sale of all or substantially all of the assets or other acquisition of the
     Company, and by virtue of any such change Grantee shall in Grantee's capacity as owner of
     unvested shares of Stock which have been awarded to Grantee (the "Prior Stock") be entitled to new
     or additional or different shares or securities, such new or additional or different shares or securities
     shall thereupon be considered unvested Shares and shall be subject to all of the conditions and
     restrictions which were applicable to the Prior Stock pursuant to this Agreement.

8.   Permanent and Total Disability of Grantee. In the event of the permanent and total disability of
     Grantee, any unpaid but vested Shares shall be paid to Grantee if legally competent or to a legally
     designated guardian or representative if Grantee Is legally incompetent.

9.   Death of Grantee. In the event of Grantee's death after the vesting date but prior to the payment of
     the Shares, such Shares shall be paid to Grantee's estate or designated beneficiary.

10. Taxes. Grantee understands that Grantee will recognize income for federal and, if applicable, state
    income tax purposes in an amount equal to the amount by which the fair market value of the Shares,
    as of the Grant Date or vesting date, as applicable, exceeds any consideration paid by Grantee for
    such Shares. Grantee shall be liable for any and all taxes, including withholding taxes, arising out of
    this grant or the vesting of Shares hereunder. By accepting the Shares, Grantee covenants to report
    such income in accordance with applicable federal and state laws. To the extent that the receipt of
    the Shares or the end of the Restriction Period results in income to Grantee and withholding
    obligations of the Company, Including federal or state withholding obligations, Grantee agrees that
    the Company shall retain and instruct a registered broker(s) to sell such number of Shares necessary
    to satisfy the Company's Withholding obligations, after deduction of the broker's commission, and the
    broker shall remit to the Company the cash necessary In order for the Company to satisfy its
    withholding obligations. Grantee covenants to execute any such documents as are requested by the
    broker of the Company in order to effectuate the sale of the Shares and payment of the tax
    obligations to the Company. The Grantee represents to the Company that, as of the date hereof, he
    or she is not aware of any material nonpublic information about the Company or the Shares. The
    Grantee and the Company have structured this Agreement to constitute a "binding contract" relating
    to the sale of Shares pursuant to this Section, consistent with the affirmative defense to liability under
    Section 1O(b) of the Exchange Act under Rule 1Ob5-1 (c) promulgated under the Exchange Act.

11. Representations. By accepting the Shares, Grantee represents and warrants for himself and his
    transferees (whether by will or the laws of descent and distribution) that:
           Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 26 of 28



Restricted Stock Grant Agreement
Page 5


             (a)     The sale and marketing of the Company's products by Grantee are Grantee's primary
             trade or business.

             (b)     During the most recently ended calendar year Grantee derived, and during the
             current calendar year Grantee expects to derive, the majority of Grantee's earned income
             from the sales and marketing of the Company's products.

12. Miscellaneous.

   12.1.     The Company shall not be required (i) to transfer on its books any shares of Stock of the
             Company which have been sold or transferred in violation of any provisions sel forth in this
             Agreement, or (ii) to treat as owner of such shares or to accord the right to vote as such
             owner or to pay dividends to any transferee to whom such shares shall have been so
             transferred.

   12.2.     The parties agree to execute such further instruments and to take such action as may be
             reasonably necessary to carry out the intent of this Agreement.

   12.3.     Any notice required or permitted hereunder shall be given in writing and shall be deemed
             effectively given upon delivery to Grantee at the address of Grantee then on file with the
             Company.

   12.4.     Neither the Plan nor this Agreement nor any provisions under either shall be construed so as
             to grant Grantee any right to remain associated with the Company or any of its affiliates.

   12.5.     This Agreement constitutes the entire agreement of the parties with respect to the subject
             matter hereof.


AGREED AND ACCEPTED:

GRANTEE:                                                WRIGHT MEDICAL GROUP, INC.
Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 27 of 28




                         EXHIBITC
                        Case 3:10-cv-00033-JLH Document 1 Filed 02/18/10 Page 28 of 28


'. '"..



           .
            .........                                              .11 til 1111

           .


                                                                                                 ..........--
                                                                                         .......a..DII-.....
                                                                                           .,......,
                                                                                                  •    -.n"","
                                                              '.




                         ,..,   .
                               ...
                         .....--.
                                    ~




                                  A".
                                                      __
                                           12ACM


                         r.MI'_~~
                           ........
                          'l
                                    ~~"QII"'JfiIL

                               .............. u2l'MlJt1l. . . .,.., _ _ 1IIII          wllaaQO)dIr




                ..




                                                                                                 EXHIBIT
                                                                                                    A




     t>1       39\1d                 S3190l0NHJ31l\1JI9~ns                        t>1L61SL 106
